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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

ASERDA ALHERBI                §
                              §
vs.                           §
                              §
PACCAR FINANCIAL CORP. d/b/a  §                 CIVIL ACTION NO. _ _ _ __
PACCAR LEASING COMPANY,       §
JACKSON TRANSPORTATION        §
SERVICES, INC., HYUNDAI MOTOR §
AMERICA, AND JUAN MERCADO                   §


                 HYUNDAI TRANSLEAD'S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        COMES NOW Defendant Hyundai Translead, a defendant in Cause No. 017-

323588-21, Aserda v. PACCAR Financial Corp. dlbla PACCAR Leasing Co., et al.,

originally pending in Texas state district court, pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446, and without waiving any of its defenses, hereby gives notice of removal of

this case from the 17th Judicial District Court, Tarrant County, Texas, to the United

States District Court for the Northern District of Texas, Fort Worth Division.

Defendant Hyundai's grounds for removal are as follows:

I.     INTRODUCTION
       In her First Amended Original Petition, Plaintiff Aserda Aherbi alleges that,

on September 1, 2020, she was on East Hwy. 114 and her car "contacted with-and

went underneath-the side of a 2016 Peterbilt 18-wheeler driven by Defendant Juan

Mercado." Exhibit D #19. According to the certified Crash Report, Plaintiff lost control

on the wet road and hit a guardrail. She then "began to fishtail and struck [the 18-

wheeler]." Exhibits G and D #19.



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         Plaintiff does not allege Defendant Mercado or the IS-wheeler caused the

accident in any way. Instead, Plaintiff claims the trailer she went underneath did not

have a side underride guard, which Plaintiff asserts is a safety feature that would

have prevented or decreased the severity of injuries sustained in the crash. 1 Plaintiff

claims the trailer was in a "defective and unreasonably dangerous condition," which

Plaintiff pleads is the lack of a side underride guard. Exhibit D #19. Plaintiff is

seeking actual and exemplary damages on the following theories: negligence and

negligence per se based upon 49 C.F.R. § 396.3, gross negligence, and strict product

liability.

II.      TIMING OF REMOVAL
         Defendant Hyundai Translead was added as a party through Plaintiffs First

Amended Original Petition and was served on or about August 6, 2021. This Notice

of Removal is timely filed within thirty (30) days of service, pursuant to 28 U.S.C. §

1446(b)(l).

III.     VENUE
         This Court occupies the district and division in which Plaintiffs lawsuit was

filed. Therefore, venue is proper pursuant to 28 U.S.C. § 1446(a).

IV.      BASIS FOR REMOVAL
         Plaintiff Aserda Alherbi 1s a Texas citizen.2 There is complete diversity

between the Plaintiff and the properly-joined defendants, because no properly-joined

defendant is a citizen of Texas. Moreover, Plaintiff affirmatively pleads the amount

in controversy exceeds $75,000. Exhibit D #19, at page 2. See 28 U.S.C. § 1332(a)(l),

1441(b).


1   See Plaintiffs First Amended Petition, which is attached hereto as Exhibit D #19.
2
    See Exhibit D #19, at page 1
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         Plaintiff brought suit in the 17th Judicial District Court against the following

parties: 3

                •        Defendant PACCAR Financial Corp. d/b/a PACCAR
                         Leasing Company ("PACCAR"), which is a Washington
                         corporation, has its principal place of business in
                         Washington, and thus is a Washington citizen. Plaintiff
                         asserts PACCAR owned and/or leased the 18-wheeler.
                         PAC CAR has been improperly joined.
                •        Jackson Transportation Services, Inc. ("Jackson"), which,
                         according to publicly-available documents, is a Texas
                         corporation with its principal place of business in Texas.
                         Plaintiff claims Jackson either owned or leased the tractor
                         and trailer. Jackson has been improperly joined.

                •        Juan Mercado ("Mercado") is a Texas citizen, 4 but he has
                         been improperly joined. Plaintiffs only allegation against
                         Mercado is that he was driving the tractor-trailer at the
                         time of the accident
                •        Hyundai Motor America ("HMA") is a California
                         corporation with its principal place of business in
                         California. Plaintiff non-suited HMA on July 16, 2021; 5 and

                •        Hyundai Translead is a California corporation with its
                         principal place of business in California and is the entity
                         Plaintiff       alleges  "designed,  tested,    assembled,
                         manufactured, supplied, marketed, promoted, sold,
                         distributed, and put into the stream of commerce the
                         trailer in a defective and unreasonably dangerous
                         condition ... ". See Exhibit E.
Plaintiff and Defendants PAC CAR and Hyundai Translead are citizens of different

states and were of different states at the time suit was filed. Plaintiff pleads for

damages in excess of $1,000,000. 6 Consequently, this Court would have had original

jurisdiction of this case under 28 U.S.C. § 1332(a)(l). Thus, the case is removable. See

3 Plaintiff did not plead the citizenship of any defendant other than Juan Mercado; rather,
Plaintiff simply stated each defendant "did business in Texas," which is not the test for
removability or subject-matter jurisdiction.
4
    See Exhibit D #19, at page 2.
5
    See Exhibit D #24.
6
    See Exhibit D #19, at page 2.

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28 U.S.C. § 144l(a) (generally, if state court case could have been brought originally

in federal court, case is removeable). No properly-joined defendant is a citizen of

Texas. See 28 U.S.C. § 144l(b)(2).

V.       ALL DEFENDANTS CONSENT TO REMOVAL
         All defendants who have been properly joined and served at the time of removal

must join in the notice of removal or consent to the removal. 28 U.S.C. § 1446(b)(2)(A).

All defendants who are still party to this suit have consented to removal by Hyundai

Translead. 7

Vl.      DEFENDANTS JACKSON AND MERCADO ARE IMPROPERLY JOINED
         AND THUS THEIR CITIZENSHIP SHOULD BE DISREGARDED
         It is well-settled that a plaintiff cannot destroy diversity by improperly or

fraudulently joining a non-diverse defendant. See Hart v. Bayer, 199 F.3d 239, 243

(5th Cir. 2000). In this case, Defendants Jackson Transportation Services and Juan

Mercado are improperly joined. As a result, the citizenship of those defendants must

be disregarded when determining whether diversity is present. See Cuevas v. BAC

Home Loans Servicing, LP, 648 F.3d 242, 249-50 (5th Cir. 2011).

         A.     The Test Used to Determine if a Defendant Is Improperly Joined
         In Smallwood v. Ill. Cent. R.R. Co.,8 the Fifth Circuit sitting en bane explained

how federal courts should analyze and decide whether a non-diverse defendant has

been improperly joined:

                . . . we have recognized two ways to establish improper
                joinder: "(l) actual fraud in the pleading of jurisdictional
                facts, or (2) inability of the plaintiff to establish a cause of
                action against the non-diverse party in state court."
                [footnote omitted] . . . [W]e explained in Travis v. Irby
                [footnote omitted] that the test for fraudulent joinder is
                whether the defendant has demonstrated that there is no

7
    See Exhibit H.
8
    385 F.3d 568 (5th Cir. 2004), cert. denied 544 U.S. 992 (2005).
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              possibility of recovery by the plaintiff against an in-state
              defendant, which stated differently means that there is
              no reasonable basis for the district court to predict
              that the plaintiff might be able to recover against an
              in-state defendant_ To reduce possible confusion, we
              adopt this phrasing of the required proof and reject all
              others, whether the others appear to describe the same
              standard or not. [footnote omitted]
Id. at 573 (emphasis added); see also Int'l Energy Ventures Mgmt., L.L.C. v. United
Energy Grp., Ltd., 818 F.3d 193, 205 (5th Cir. 2016) (reaffirming the Smallwood

holding and reasoning). In analyzing whether a non-diverse defendant has been

improperly joined, this Court must conduct a Federal Rule of Civil Procedure 12(b)(6)

analysis using federal court pleading rules. See Waste Mgmt. v. AIG Specialty Ins.

Co., 974 F.3d 528, 533 (5th Cir. 2020). "To pass muster under Rule 12(b)(6), [a]

complaint must have contained 'enough facts to state a claim to relief that is plausible

on its face."' Int'l Energy, 818 F.3d at 200. Plaintiffs First Amended Original Petition

fails this test with respect to Jackson and Mercado.

       B.     Plaintiffs Suit Is a "Product Liability Action"
       Plaintiffs live petition does not contend the trailer deviated from its intended

design, nor do they contend the trailer itself violated any local, state, or federal rule

or regulation applicable to the trailer. All of the theories Plaintiff asserts are based

on the lack of a side underride guard at the time of manufacture, which Plaintiff

claims made the trailer unsafe, uncrashworthy, dangerous and defective. 9 Plaintiff

also pleads the alleged defective condition of the trailer caused the injuries for which

she seeks damages. Exhibit D #19. Plaintiff thus has alleged a "product liability

action." 10 In other words, Plaintiff asserts the trailer Mercado was driving was

9
  Exhibit D #19.
10 See Tex. Civ. Prac. & Rem. Code § 82.001(2) (defining "products liability action" as "any

action against a manufacturer or seller for recovery of damages arising out of personal injury,
death, or property damages allegedly caused by a defective product" regardless of the theory
asserted).
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defective, because it should have been designed to be safer to collide with. Plaintiff

also claims that Defendant "Hyundai Translead designed, tested, assembled,

manufactured, supplied, marketed, promoted, sold, distributed, and put into the

stream of commerce the trailer in a defective and unreasonably dangerous

condition[.]"
       As to Mercado and Jackson, Plaintiff does not allege they manufactured or

designed the trailer; rather, Plaintiff only claims they "subsequently allowed it to

operate on the road in that manner[,]" i.e., without side underride guards. The theory

being advanced against Jackson and Mercado is that they simply let an allegedly

defective trailer to drive down the road.

       C.       Jackson and Mercado Are Improperly Joined
       "[T]he existence of a legally cognizable duty is a prerequisite to all tort

liability." Brown Forman Corp. v. Brune, 893 S.W.2d 640, 644 (Tex. App.-Corpus

Christi 1994, writ denied). This rule applies regardless of the theory - strict product

liability, negligence or warranty - being asserted. 11 See id. Duty is a question of law

for the Court to determine. See Mission Petroleum Carriers, Inc. v. Solomon, 106

S.W.3d 705, 710 (Tex. 2003). By statute, the Texas duty to provide a non-defective

product generally is owed by the manufacturer, rather than a non-manufacturing

seller. See Tex. Civ. Prac. & Rem. Code § 82.003. Moreover, whether a product is

defective is measured at the time it leaves the hands of the manufacturer, not at the

time of the accident. 12

11
   The Texas legislature has done away with the various doctrinal theories used to assert
product liability claims. See Tex. Civ. Prac. & Rem. Code § 82.001(2) (defining "products
liability actions" "as any action against a manufacturer or seller for recovery of damages
arising out of personal injury, death, or property damages allegedly caused by a defective
product" regardless of the theory asserted).
12See Miller v. Boch Laundry Machine Co., 568 S.W.2d 648, 650-652 (Tex. 1977) (defect must
exist at time product left the hands of the defendant who designed and manufactured it); cf.
Walher v. Thomasson Lumber Co., 203 S.W.3d 470 (Tex. App.-Houston [14th Dist.] 2006, no
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       Plaintiff does not allege negligence on the part of Jackson or Mercado caused

the accident. Plaintiff alleges instead Jackson and Mercado were negligent and

grossly negligent, because Mercado was driving the Hyundai Translead trailer

without a side underride guard. Plaintiff also alleges negligence, gross negligence,

and negligence per se against all defendants based upon 49 C.F.R. § 396.3, which

states in pertinent part:

              § 396.3 Inspection, repair, and maintenance.

               (a)    General. Every motor carrier and intermodal
                      equipment provider must systematically inspect,
                      repair, and maintain, or cause to be systematically
                      inspected, repaired, and maintained, all motor
                      vehicles and intermodal equipment subject to its
                      control.

                      (1)    Parts and accessories shall be in safe and
                             proper operating condition at all times. These
                             include those specified in part 393 of this
                             subchapter and any additional parts and
                             accessories which may affect safety of
                             operation, including but not limited to, frame
                             and frame assemblies, suspension systems,
                             axles and attaching parts, wheels and rims,
                             and steering systems ....
(emphasis added). The only parties to which section 393.3(a) could apply in this case

are Jackson and Mercado. Even so, that regulation is not an appropriate basis for a

negligence per se claim under Texas law. See Omega Contr., Inc. v. Torres, 191 S.W.3d

828, 842-43 (Tex. App.-Fort Worth 2006, no pet.) (holding that § 396.3(a)

incorporates the ordinarily prudent person standard and thus "negligence per se"

does not apply).




pet.) (utility pole worker who fell while climbing a utility pole failed to establish that pole
was defective when it left the plant); Clay u. AIG Aero. Ins. Servs., 488 S.W.3d 402 (Tex.
App.-Texarkana 2016, no pet.) (stating rule).
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       Moreover, § 396.3 expressly applies to "parts and accessories" actually on the

truck, including those specified in Part 393. Plaintiffs do not claim that any part or

accessory actually on the trailer or required by Part 393 was not in "a safe and proper

operating condition." No provision of Part 393 requires a side underride guard.

Section 396.3 does not place a duty upon a motor carrier or its employees to inspect

for or put a side underride guard on the trailer in question.

       Section 393.86 references rear impact guards and rear-end protection. The

trailer at issue was originally equipped with a rear impact guard and rear-end

protection, and there is no allegation the Plaintiffs vehicle struct any portion of the

rear of the subject trailer. See Exhibit G. Plaintiff does not complain, however, about

the rear impact guard or rear-end protection; rather, she complains only about the

lack of side underride guards.

       Plaintiff contends the trailer was defectively designed because the absence of

a side underride guard allowed Plaintiffs vehicle to go underneath the trailer, which,

according to Plaintiffs live petition, caused the injuries of which Plaintiff complains.

In other words, Plaintiff is attempting to bring a crashworthiness case, but the defect

she alleges is not in the vehicle in which she was riding. Instead, Plaintiff claims the

defect is in the vehicle her car hit. Under Texas law, the crashworthiness doctrine

does not apply in this case because Plaintiff was not using or in the vehicle she alleges

is defective.

       The crashworthiness doctrine can be traced to Larsen v. General Motors Corp.,

391 F.2d 495 (8th Cir. 1968), which applied Michigan law. In Larsen, the plaintiff

was driving a Corvair when it was involved in a head-on collision that "caused a

severe rearward thrust of the [Corvair's] steering mechanism into the plaintiffs

head." Id. at 496-97. It was undisputed that the alleged defect in the steering


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mechanism did not cause the accident. See id. at 497. In rejecting the car

manufacturer's argument that it had no duty to design a car to be safer in a collision,

the court explained:

              The manufacturer's duty to use reasonable care in the
              design and manufacture of a product to minimize injuries
              to its users and not to subject its users to an unreasonable
              risk of injury in the event of a collision or impact should be
              recognized by the courts. The manufacturers themselves
              have, in various public utterances in discussing automotive
              safety, expressed their concern for making safer vehicles.
              [footnote omitted] And General Motors admits the
              foreseeability of accidents which are matters of public and
              common knowledge over a long period of time. [footnote
              omitted] Legal acceptance or imposition of this duty would
              go far in protecting the user from unreasonable risks. The
              normal risk of driving must be accepted by the user but
              there is no need to further penalize the user by subjecting
              him to an unreasonable risk of injury due to negligence in
              design. [footnote omitted]
Id. at 504-05. Thus, the duty of a vehicle manufacturer to design its product to avoid
unreasonable risk of injury during a collision runs to the user of the vehicle in

question.

       Texas law has adopted the Larsen view of the manufacturer's duty in a

crashworthiness case as running to the occupants of the manufacturer's vehicle: "[I]n

a crashworthiness case, the claim is that a defect in the vehicle caused an occupant

to sustain injuries in an accident that he or she would not otherwise have suffered."

Ford Motor Co. v. Miles, 141 S.W.3d 309, 317 (Tex. App.-Dallas 2004, pet. denied).

Plaintiff was not an occupant of the trailer.

       Cars, SUVs, pickups, and tractor-trailer combinations vary significantly in

size, shape, weight, and stiffness, based on the use to which they will be put. Plaintiff

does not and cannot explain how a manufacturer is supposed to design a trailer that

would be safe for any and all vehicles to crash into. See De Veer v. Land Rover, No.

B141538, 2001 WL 34354946, at *5 (Cal. App. Aug. 14, 2001) (not published)
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(rejecting argument that vehicle into which plaintiff crashed was defective because it

was not crash compatible with the vehicle in which plaintiff was riding). Under Texas

law, a vehicle manufacturer's duty does not extend that far.

        For all of the reasons explained above, there is no reasonable basis for this

Court to predict that Plaintiff could recover against Jackson or Mercado under any of

the theories she has asserted. There is complete diversity between Plaintiff and the

remaining defendants and the amount in controversy exceeds $75,000. The case is

thus removable to this Court.

VII.    JURY DEMAND
        A jury demand has been filed in the State Court action. 13

VIII. DOCUMENTS FILED CONTEMPORANEOUSLY WITH OR ATTACHED TO
      THIS NOTICE OF REMOVAL
        Pursuant to Local Rule 81.1, Hyundai Translead is contemporaneously filing

the following documents with the Clerk: (1) a completed civil cover sheet; and (2) a

supplemental civil cover sheet. Attached to this Notice of Removal are the following:

        Exhibit A      Civil Cover Sheet

        Exhibit B      Index of State Court Documents

        Exhibit C      State Court Docket Sheet

        Exhibit D      Each Document Filed in the State Court Action [separately
                       numbered and filed using the following designation:
                       D-#.1 - Plaintiffs Original Petition.
                       D-#.2 - Request for Service - PACCAR Financial Corp.
                       D-#.3 - Request for E-Issuance - Juan Mercado.
                       D-#.4 - Request for Service-Jackson Transportation Services, Inc.
                       D-#.5 - Request for Service - Hyundai Motor America.
                       D-#.6 - Return of Service on Juan Mercado.
                       D-#. 7 -Defendant Jackson Transportation Services, Inc. and Juan
                               Mercado's Original Answer and Request for Disclosure.
                       D-#.8 - Defendant Jackson Transportation Services, Inc. and Juan
                               Mercado's Request for Jury Trial.

13
     See Exhibit D #1, at page 5.

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                     D-#.9 -Defendant PACCAR Financial Corp. D/B/A PACCAR Leasing
                             Company's Original Answer and Request for Disclosure.
                     D-#.10 - Plaintiffs Motion for Default Judgment Against Defendant
                             Hyundai Motor America.
                     D-#.11- Plaintiffs Proposed Order on Motion for Default Judgment.
                     D-#.12 - Plaintiffs Notice of Hearing on Plaintiffs Motion for Default
                             Judgment.
                     D-#.13 - Letter to Court Clerk with Brett Timmons correct email address.
                     D-#.14 - Letter from David Montpas to Court Clerk requesting copy of
                            case sheet.
                     D-#.15 - Hyundai Motor America's Answer to Plaintiffs Original
                            Petition.
                     D-#.16- Defendants' Proposed Scheduling Order.
                     D-#.17 - Plaintiffs Proposed Scheduling Order.
                     D-#.18 - Defendant PACCAR Financial Corp., Jackson Transportation
                            Services, Inc., and Juan Mercado's Special Exceptions to
                            Plaintiffs Original Petition.
                     D-#.19 - Plaintiffs First Amended Petition.
                     D-#.20 - Defendant PACCAR Financial Corp., Jackson Transportation
                            Services, Inc., and Juan Mercado's Special Exceptions to
                            Plaintiffs Amended Petition.
                     D-#.21- Request for Issuance of Citation to Hyundai Translead.
                     D-#.22 - Notice of Hearing on Defendant's Special Exception to
                            Plaintiffs Amended Petition.
                     D-#.23 - Notice of Appearance of Additional Counsel and Change of
                            Lead Counsel for Defendant, Hyundai Motor America.
                     D-#.24 - Plaintiffs Notice of Nonsuit Without Prejudice as to Hyundai
                            Motor America.
                     D-#.25 - Plaintiffs Response to Defendants Special Exceptions.
                     D-#.26 - Proposed Order Denying Defendants' Special Exceptions.
                     D-#.27 - Defendants' Order Granting Motion for Summary Judgment.
                     D-#.28 - Defendant PACCAR Financial Corp., Jackson Transportation
                            Services, Inc., and Juan Mercado's Motion for Summary
                            Judgment.
                     D-#.29 - Notice of Hearing on Defendants' Motion for Summary
                            Judgment.
                     D-#.30 - First Amended Notice of Hearing on Defendants' Motion for
                            Summary Judgment.
                     D-#.31- Plaintiffs Response to Defendants' Motion for Summary
                            Judgment, and in the alternative, Plaintiffs Verified Motion for
                            Continuance.
                     D-#.32 - Return of Service on Hyundai Translead.
                     D-#.33 - Defendant PACCAR Financial Corp., Jackson Transportation
                            Services, Inc., and Juan Mercado's Reply in Support of
                            Defendants Motion for Summary Judgment.
                     D-#.34- Hyundai Translead Original Answer and Special Appearance.


       Exhibit E     The July 26, 2021 Affidavit ofTae Hyun Jun.

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         Exhibit F    Separately Signed Certificate of Interested Persons

         Exhibit G Certified Copy of Crash Report.

         Exhibit H Email of Consent
Promptly after filing this Notice of Removal, Hyundai Translead will file a Notice of

Removal to Federal Court with the 17th District Court of Tarrant County, Texas, as

required by 28 U.S.C. § 1446(d).

IX.      SUMMARY
         In summary, Plaintiff has failed to plead an independent cause of action as

against the Defendants PACCAR Financial Corp., Jackson Transportation Services,

and Juan Mercado, outside of product defect case. These Defendants are not the

manufacturer, marketer, or designer of the allegedly defective trailer. The allegation

against these Defendants boils down to "all Defendants knew or should have known

that the trailer should have been equipped with side underride guards and should

have insisted on such guards to ensure the public's safety". See Plaintiffs Amended

Petition at 3. The Defendants PACCAR Financial Corp., Jackson Transportation

Services, and Juan Mercado filed their Special Exceptions to the Plaintiffs Amended

Petition. See Exhibit D #20. The Plaintiff filed her response to those Defendants'

Special Exceptions. See Exhibit D #25. Furthermore, Defendants PACCAR Financial

Corp., Jackson Transportation Services, and Juan Mercado filed their Motion for

Summary Judgment suggesting that no independent causes of action had been filed

as against these Defendants, which required a legal duty to act. See Exhibit D #28.

Plaintiff filed a Response to Defendants' Motion for Summary Judgment and in the

Alternative, Verified Motion for Continuance in effect seeking additional time to

develop an independent cause of action as against these Defendants. See Exhibit D

#31.     Thus, in summary, no recognized independent theory for liability by the


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Defendants PACCAR Financial Group, Jackson Transportation Services and Juan

Mercado outside a product defect case has been pled.

X.      CONCLUSION
        BASED ON THE FOREGOING, Defendant Hyundai Translead removes this

case from the 17th Judicial District Court of Tarrant County, Texas, to the United

States District Court for the Northern District of Texas, Fort Worth Division.


                                        Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was served in
accordance with the Federal Rules of Civil Procedure on the~       ay of September
2021, as follows:

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